             Case 1:08-cv-11795-NG Document 54 Filed 03/22/11 Page 1 of 1



                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS



          John L. Waters
                                     Plaintiff
                                                                       CIVIL ACTION
                   V.
                                                                       NO. 1:08-cv-11795-NG
   J.C. Christensen & Associates, Inc.
                         Defendant



                                                 JUDGMENT


  GERTNER, D. J.


         In accordance with the Court's electronic Order adopting the Report and

Recommendation (docket entry #52) dated 3/22/2011                      granting   defendant’s

motion for summary judgment in the above-entitled action, it is hereby ORDERED:

                                Judgment for the   defendant       .



                                                               By the Court,


      3/22/2011                                                  /s/ JENNIFER GAUDET
        Date                                                   Deputy Clerk




(Judgment for SJ.wpd - 12/98)
